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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

                                      )
THE STATE OF GEORGIA,                 )
                                      )
      v.                              )       Case No. 1:23-cv-03621-SCJ
                                      )
MARK R. MEADOWS,                      )
                                      )
               Defendant.             )
                                      )

                              NOTICE OF APPEAL

      Notice is hereby given that Defendant Mark R. Meadows appeals to the U.S.

Court of Appeals for the Eleventh Circuit from the Order, Dkt. No. 69, issued by

Judge Steve C. Jones on September 8, 2023.




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Dated: September 8, 2023                   Respectfully submitted,

                                           /s/ George J. Terwilliger III

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                          CERTIFICATE OF SERVICE

      On September 8, 2023, the foregoing Notice of Appeal was electronically

filed with the Clerk of Court using the CM/ECF system, which will automatically

send email notification of such filing to all attorneys of record.

      This, the 8th day of September, 2023.


/s/ John S. Moran

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                     CERTIFICATE OF COMPLIANCE

      The undersigned certifies that 14-point Times New Roman font was used for

this document and that it has been formatted in compliance with Local Rule 5.1.

      This, the 8th day of September, 2023.

/s/ John S. Moran

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